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                      UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF MICHIGAN
                           NORTHERN DIVISION


JOHN DOE,
        Plaintiff,                                Case No.
                                                  Hon.
v.
NORTHERN MICHIGAN UNIVERSITY,
JANET KOSKI, DONNA BEAUCHAINE,
in their individual and official capacities,
and CHRISTINE GREER,
in her official capacity only,
jointly and severally,

        Defendants.
__________________________________________________________________
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__________________________________________________________________
                      COMPLAINT AND JURY DEMAND

        Plaintiff, John Doe, by and through his attorneys, NACHTLAW, P.C.,

hereby alleges as follows:
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                                INTRODUCTION

      1.     On or about April 6, 2018, Defendant Northern Michigan University

(“NMU” or “University”) expelled Plaintiff John Doe from campus after finding

him responsible of an alleged sexual assault.

      2.     In the process of expelling Plaintiff, Defendants illegally gave

deference to the allegations of the female accuser while assuming that the accused

male was responsible even when the weight of the evidence was to the contrary.

      3.     In the academic setting, in Title IX proceedings, accused males,

including Plaintiff, are being denied basic due process, impartiality, and fair

investigations, hearings, and appeals. See Doe v. Baum, 2018 U.S. App. LEXIS

25404 (6th Cir. Sept. 7, 2018); Doe v. Miami Univ., 882 F.3d 579 (6th Cir. 2018);

Doe v. Univ. of Cincinnati, 872 F.3d 393 (6th Cir. 2017).

      4.     Unfortunately, educational institutions, like NMU, are not leaving

sexual assault investigations to the police and criminal justice system with their

related procedural protections, and instead, are adjudicating the sex lives of

students—most of whom are living without parental oversight for the first time—

without providing the accused fair protections.

      5.     Here, Plaintiff’s life has been irreparably upended due to a broken

system that led to his expulsion for engaging in consensual activity with his accuser,

Jane Roe (“Roe”), during his freshman year of college, on or about October 30, 2016.


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      6.     Plaintiff and Roe first met in or about September 2016 while both were

working in a cafeteria on campus.

      7.     That first day, they began talking at work, continued talking after work,

and eventually engaged in consensual sex that night.

      8.     The two continued engaging in consensual sexual activity once or twice

a week through the end of October 2016.

      9.     On or about October 30, 2016, Roe attended a pre-Halloween party

without Plaintiff. When she was ready to leave, however, she contacted Plaintiff to

walk her home.

      10.    Roe did not seem drunk to Plaintiff, was not slurring her words, and

could walk on her own.

      11.    Plaintiff and Roe returned to Plaintiff’s room where they engaged in

consensual oral and vaginal sex, as they had before. Roe actively participated and at

no point told Plaintiff “no” or to stop.

      12.    Nearly a year-and-a-half later, Plaintiff was shocked to receive notice

that he had been accused of sexually assaulting Roe. Roe had engaged in consensual

sexual relations with Plaintiff after October 30, 2016, and on information and belief,

at no point during that period did Roe go to the police—as of the date of this

Complaint, Plaintiff has received no indication that she has.




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      13.    Defendant Donna Beauchaine then began the process of an inadequate

and biased investigation into Roe’s allegations during which—contrary to Title IX—

she overstepped her role as an information gatherer and ignored the evidence

exonerating Plaintiff and credited Roe’s inconsistent statements.

      14.    NMU also deprived Plaintiff of a fair hearing. In fact, Plaintiff did not

receive a live hearing at all.

      15.    Plaintiff could not cross-examine his accuser in any way or even submit

questions to a neutral person or board to ask her.

      16.    As a result, NMU denied Plaintiff a fair and impartial investigation and

hearing, in violation of Title IX and NMU’s own policies.

      17.    Defendant Janet Koski, NMU’s Title IX Coordinator, subsequently

refused to recognize the flagrant violations of Plaintiff’s rights and upheld the

decision to expel Plaintiff from NMU.

      18.    Therefore, Plaintiff brings the instant action.

                         PARTIES AND JURISDICTION

      19.    Plaintiff John Doe (“Doe” or “Plaintiff”), who requests anonymity in this

matter as an alleged perpetrator of sexual assault who has never been criminally

charged or investigated, is a resident of Marquette County, Michigan. He will file the

appropriate motion for anonymity if necessary and requested by this Court.




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      20.    Based on the facts detailed below, Defendants will be able to identify

Plaintiff and will not be prejudiced by the use of a pseudonym.

      21.    Defendant Northern Michigan University (“NMU” or “University”) is

a public university located in Marquette, Marquette County, Michigan.

      22.    The events at issue occurred in Marquette, Michigan, which lies in

Marquette County and the Western District of Michigan.

      23.    Defendant Donna Beauchaine is the University’s misconduct

investigator. On information and belief, she works and/or resides in Marquette

County and the Western District of Michigan.

      24.    Defendant Janet Koski is the University’s Title IX Coordinator. On

information and belief, she works and/or resides in Marquette County and the

Western District of Michigan.

      25.    Defendant Christine Greer is the University’s Dean of Students. On

information and belief, she works and/or resides in Marquette County and the

Western District of Michigan.

      26.    This Court has general federal question jurisdiction pursuant to 28

U.S.C. § 1331, because Plaintiff brings his claims pursuant to the Civil Rights Act,

42 U.S.C. § 1983, and Title IX of the Civil Rights Act of 1964, 20 U.S.C. § 1681 et

seq. This Court also has supplemental jurisdiction pursuant to 28 U.S.C. § 1367 over

Plaintiff’s state law claims.


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      27.    Venue is proper in this Court because Defendants obligated themselves

to Plaintiff within the Western District of Michigan, the University is located within

the Western District of Michigan, and, upon information and belief, Defendants

reside within the Western District of Michigan.

                             GENERAL ALLEGATIONS

A.    Background

      28.    Prior to matriculating at NMU, Plaintiff attended North Branch High

School in North Branch, Michigan. There, Plaintiff was an excellent student, on the

honor roll, and had no disciplinary record.

      29.    He earned admission to NMU and was excited to begin his collegiate

experience in fall 2016.

      30.    In order to earn some income while in school, Plaintiff began working

at the Market Place Cafeteria on the University’s campus in or around the summer

of 2016. He worked the grill there.

      31.    While working in or about September 2016, he noticed Jane Roe

(“Roe”), who had just begun working at the cafeteria and was serving pizza in the

same section as Plaintiff.

      32.    As the two worked in close proximity, they began talking while

working.




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        33.   The first day they met, after work, Plaintiff invited Roe to go to a

convenience store where they continued talking.

        34.   The two then went to Plaintiff’s dorm room.

        35.   Once there, they continued talking, began cuddling on Plaintiff’s bed,

and eventually had consensual sex.

        36.   After their first sexual encounter, Plaintiff and Roe agreed to a “friends

with benefits” situation in which the two would usually see each other once or twice

a week and engage in consensual sex.

        37.   Their relationship continued in this manner through the end of October

2016.

        38.   On or about October 30, 2016, Roe attended a pre-Halloween party

without Plaintiff.

        39.   From the party, Roe texted Plaintiff that she wanted him to come pick

her up from the party.

        40.   Plaintiff came and walked with Roe back to his dorm room.

        41.   Roe did not seem drunk to Plaintiff, was not slurring her words, and

could walk on her own.

        42.   At no point on October 30th did Plaintiff witness Roe consume alcohol

or provide her with alcohol.




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       43.   Once Plaintiff and Roe went to Plaintiff’s room, the two talked for a

couple minutes and then began engaging in sexual activity as they had in the past.

       44.   Roe actively participated in the sexual activities, willingly performing

fellatio and engaging in penetrative sex.

       45.   At no point did Roe tell Plaintiff “no” or to stop.

       46.   In fact, Plaintiff asked Roe if he could take a video of Roe performing

fellatio on him. Roe agreed on the condition that Plaintiff not publicly post the video.

       47.   At all times, Roe actively participated in the sexual encounter, was

coherent, and was able to say “no.”

       48.   At all times relevant hereto on October 30, 2016, Roe was awake and

alert. She was coherent, able to walk on her own, and fully functional.

       49.   At the time Plaintiff and Roe had sex, Roe was not incapacitated and

gave knowing consent for their sexual encounter. In fact, she initiated oral sex with

Plaintiff.

B.     Plaintiff and Roe’s Ongoing Relationship

       50.   Following     October    30,   2016,   Plaintiff   and   Roe    continued

communicating with each other via text message.

       51.   They would have text conversations once to twice a month.




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        52.   At some point, Roe came to Plaintiff’s room and told him that she did

not want to have sex with him on October 30, 2016 and was too drunk to say

anything.

        53.   Plaintiff did not recall the events that way but apologized.

        54.   The two agreed to remain friends and even laughed about the incident.

        55.   Plaintiff thought the two had moved on, and they continued having text

conversations even after this conversation.

        56.   During one of these text conversations, Roe—unprompted—asked

Plaintiff to delete the video he had taken of Roe performing fellatio from October

30th.

        57.   Plaintiff complied with her request.

        58.   Roe also confronted Plaintiff about what happened on October 30 th via

text message.

        59.   In the text conversation, Roe admitted that Plaintiff had told her that he

was unaware that she was drunk that night. She also stated that she saw Plaintiff as

a friend.

        60.   During the summer or fall of 2017, Plaintiff invited Roe to show her

the new off-campus house he was staying in.

        61.   Roe came over and after talking for a couple of hours, Roe and Plaintiff

engaged in consensual sexual activities.


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      62.      Plaintiff texted Roe two to three times over the following month or two,

but Roe did not respond.

C.    Investigation

      63.      Nearly a year-and-a-half after the October 30th incident, on or about

March 16, 2018, a formal investigation was initiated by Roe, where allegations and

information were submitted for investigation to Defendant Donna Beauchaine to

investigate Roe’s claims.

      64.      Specifically, Roe alleged that Plaintiff:

            a. Undressed her without her consent;

            b. Forced her to perform oral sex on him, knowing or that he should have

               known that she could not consent due to her level of intoxication; and

            c. Had penile/vaginal intercourse with her without her consent, knowing

               or that he should have known that she could not consent due to her level

               of intoxication.

      65.      Plaintiff was shocked as he thought that he and Roe were still friends,

they had engaged in consensual sexual activity after October 30, 2016, and he had

not even attempted to contact Roe since around January 2018.

      66.      Under NMU’s Sexual Misconduct Policy, sexual assault is defined as

“a legal term that means sexual contact without consent.” Specifically, NMU’s




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policy defines sexual assault as the same as any of the forms of criminal sexual

conduct described in MCL 750.520b-750.520g of the Michigan Penal Code.

      67.   Furthermore, Policy provides:

      Sexual assault consists of sexual intercourse without consent, forcible
      sodomy or sexual penetration with an inanimate object, the intentional
      touching of an unwilling individual’s intimate parts (defined as
      genitalia, groin, pelvic region, inner thigh, breast or buttocks, or
      clothing covering them), or forcing an unwilling individual to touch
      another’s intimate parts. These acts must be committed either by force,
      threat, intimidation, or by taking advantage of someone’s
      helplessness or inability to consent of which the alleged perpetrator
      was aware or should have been aware. Regardless of the relationship
      that exists between the parties, if consent is not given or force or
      coercion is used against a party, any sexual contact is within the
      definitions of criminal sexual conduct and sexual assault.

(emphasis added).

      68.   Consent is defined as, “an affirmative, conscious decision by each

participant to engage in mutually agreed-upon sexual activity.”

      69.   Furthermore, “Consent cannot be obtained through the use of force,

coercion, threats, or intimidation, or by taking advantage of the incapacitation of

another individual.”

      70.   The Policy also states:

      Northern Michigan University considers sexual encounters while under
      the influence of alcohol or other drugs to be risky behavior. Alcohol
      and other drugs impair an individual’s decision-making capacity,
      awareness of consequences, and ability to make informed judgments.
      If there is any doubt as to the level or extent of the other individual’s
      intoxication or impairment, the prudent course of action is to cease any


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      sexual contact or activity. Consent cannot be given if an individual is
      incapacitated by alcohol or other drugs.

(Emphasis added).

      71.      Finally, the Policy defines incapacitation “as the inability, temporarily

or permanently, to give consent because the individual is mentally and/or physically

helpless,     asleep,   unconscious,     or        unaware   that   sexual   activity   is

occurring. Incapacitation can occur as a consequence of alcohol or other drug use

or because of a psychological condition.” (Emphasis added).

      72.      In addition to the above-referenced definitions, the Sexual Misconduct

Policy provides the process that occurs when the University receives a report that

student has allegedly engaged in sexual misconduct.

      73.      According to the Policy, once a report is made and the Title IX

Coordinator records information regarding the report, an email is sent to the

complainant from the Associate Dean of Students or designee and/or the Title IX

Coordinator. The email informs the complainant of:

       the opportunity to meet with the Associate Dean of Students or designee.

            (The complainant will not need to share details of the incident unless they

            choose to do so.),

       internal resources available to the complainant,

       external resources available to complainant,


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       assistance available, such as arrangements for a “no-contact” order,

            assistance with starting a criminal investigation or University

            investigation, assistance with free counseling services, classroom

            remedies, safety remedies, residential remedies, etc.,

       university response to retaliation, and

       contact information for the Title IX Coordinator.

      74.      Following the email to the complainant, NMU begins its initial

investigation, which:

    assesses the nature and circumstances of the report,

    addresses immediate physical safety and emotional well-being concerns,

    notifies the complainant of the right to contact or decline to contact law

      enforcement if the conduct is criminal in nature, and if requested, assist the

      complainant with notifying law enforcement,

    notifies the complainant of the availability of medical treatment to address

      physical and mental health concerns,

    notifies the complainant of the importance of preservation of evidence

    informs the complainant of her rights,

    discusses the complainant’s expressed preference for manner of resolution

      and any barriers to proceeding,

    explains the University’s policy prohibiting retaliation, and

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    considers whether the facts indicate a pattern of similar conduct by the

      respondent.

      75.      When the allegations appear to violate this policy, the Title IX

Coordinator will assign appropriately trained investigator(s) to handle the case. The

investigator(s) will:

            a. interview the complainant, the respondent and any other people

               mentioned as involved or potential witnesses to gather information. At

               no time will the complainant be required to face the respondent or

               respondent’s witnesses;

            b. conduct an inquiry or examination sufficient to lead to a determination

               of facts—when undisputed facts lead to the conclusion that the conduct

               alleged would not constitute a violation of this policy, the

               investigator(s) will prepare a summary report to the Sexual Misconduct

               Review Board (“SMRB”) for review and disposition; and

            c. determine if the allegations meet the definition of sexual assault,

               domestic violence, stalking or dating violence. If so, the investigator(s)

               will prepare an investigative report. The complainant and respondent

               will be given the opportunity to review a draft investigative report. The

               complainant and respondent may submit any additional comment or

               evidence to the investigator(s) within five (5) calendar days of the

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             opportunity to review the relevant portions of the draft investigative

             report. Upon receipt of any additional information by the complainant

             or respondent, or after the five (5) day comment period has lapsed

             without comment, the investigator will submit the final report to the

             SMRB.

      76.    Finally:

      Once the report is finalized, it is submitted to the Sexual Misconduct
      Review Board. (SMRB: Title IX Coordinator or designee, The
      Assistant Vice President/Dean of Students or designee and the lead
      investigator assigned to the incident). The SMRB will determine a
      finding (responsible, not responsible, or insufficient information to
      make a finding) based on the Preponderance of the Evidence
      standard. The SMRB will impose a sanction, if applicable. If the
      determination is that the undisputed facts do not rise to a violation of
      this policy, the SMRB will either close the case or refer back to Title
      IX coordinator for further review. The SMRB may also refer the case
      to the Dean of Students office to consider other Student Code
      violations, or to other applicable University offices.

(Emphasis added).

      77.    Plaintiff was first apprised of the allegations against him by Associate

Dean of Students, Mary Brundage.

      78.    Failing to follow NMU’s policies, however, Ms. Brundage never

advised Plaintiff of his right to have an advisor or attorney present at the meeting or

offered Plaintiff information about on and off-campus resources or an explanation

of the procedural options.



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      79.     Instead, she presented Plaintiff with a document giving him the option

to affirm, deny, or state “no comment” for each allegation against him.

      80.     She also told Plaintiff that his punishment could range from a verbal

warning to expulsion.

      81.     Nervous, and without representation, Plaintiff affirmed removing Roe’s

clothing on October 30, 2016 and having vaginal intercourse with her that night. As

Roe had performed oral sex on him, however, he refused to affirm that charge.

      82.     Plaintiff thought that affirming the allegation would lead to a lesser

punishment.

      83.     He also thought that once he explained his side of the story he may not

receive any punishment at all.

      84.     When Plaintiff attempted to tell Ms. Brundage his narrative of what

happened on October 30, 2016, she interrupted him and told him that he would be

able to tell his version of events to the investigator at a later time.

      85.     On or about March 19, Defendant Beauchaine, who was assigned as the

investigator, interviewed Roe.

      86.     Roe’s statement was that on October 30, 2016 she was drinking vodka

screwdrivers and Smirnoff Ice but could not recall how much she drank. She

contacted Plaintiff to come and get her. She recalled going to Plaintiff’s room and

going to the futon.


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      87.    Her statement then contains several inconsistent accusations.

      88.    First, she alleged that she told Plaintiff that she did not want to do

anything. But she also claimed that she was unable to move, form words, or talk.

      89.    Second, she stated that she did not recall having oral or penetrative sex

with Plaintiff. But she also alleged that she never gave Plaintiff permission for either

act and can recall Plaintiff being on and in her.

      90.    Finally, she claimed that she did not recall being naked until she ran to

the bathroom to pee. But she later stated that she “stumbled” to the bathroom naked

to pee and could not recall if it was before, during, or after she was assaulted. She

then said that when she returned from the bathroom, Plaintiff suggested they lie

together and watch television.

      91.    Roe also alleged that she did not know about the video of her

performing oral sex on Plaintiff until almost a year after the incident (August 9,

2017) when Plaintiff allegedly informed her that he had it. She then claimed that the

video showed her eyes were glazed over and her face was glazed over.

      92.    Roe also admitted to remaining in touch with Plaintiff after the alleged

assault and that they had even been physically intimate after October 30, 2016.

      93.    Plaintiff met with Defendant Beauchaine on March 21, 2018.

      94.    She again presented Plaintiff with the charges against him.




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      95.    Failing to follow NMU’s policies, however, Defendant Beuchaine

never advised Plaintiff of his right to have an advisor or attorney present at the

meeting, provided a written description of the violation and any charges issued, or

offered Plaintiff information about on and off-campus resources or an explanation

of the procedural options.

      96.    Once given the opportunity, Plaintiff gave a statement to Defendant

Beauchaine, which was inconsistent with his earlier admissions.

      97.    Plaintiff explained the night of October 30, 2016 as described above.

      98.    He stated that that night was not any different from any other night

where they had hung out and had sex.

      99.    He recalled taking her back to his dorm room, that she did not seem

very drunk—he even stated that he had never seen Roe drunk, and that he did not

force her to perform any sex acts.

      100. He recalled taking off Roe’s clothing, but she never told him “no” or to

stop, that Roe seemed normal, and that Roe was interested in sex.

      101. Plaintiff also stated that Roe performed oral sex on him prior to them

engaging in vaginal intercourse.

      102. Furthermore, Plaintiff recalled asking if it was okay for him to record

Roe performing fellatio on him. She agreed on the condition that he not post the

video publicly.


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       103. Plaintiff informed Defendant Beauchaine that he remained friends with

Roe after October 30th and that the two had consensual sex around September 2017.

He also stated that he had last tried to contact her around December 2017.

       104. Defendant Beauchaine never asked Plaintiff why he had affirmed two

of the allegations against him if he disputed that Roe was too drunk to consent to

their sexual activity and claimed that she had actively participated in it.

       105. Instead, Defendant Beauchaine was hostile throughout the interview,

used a very aggressive tone, and used language suggesting that she presumed

Plaintiff’s guilt.

       106. Plaintiff met with Title IX Coordinator, Defendant Janet Koski, on

March 28, 2018 to review the investigator’s draft report, which contained Roe’s

statement, Plaintiff’s statement, and text messages between Plaintiff and Roe.

       107. The text messages include a conversation regarding October 30th

between Plaintiff and Roe in which Plaintiff denied knowing that Roe was drunk

that night (which Roe explicitly stated she did not question), Roe admitted to still

thinking of Plaintiff as a friend, and Plaintiff stated that Roe came onto him and

denied that Roe told him “no.”

       108. Defendant Koski instructed Plaintiff to comment on any errors in the

report.




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      109. Again, Plaintiff was not informed of his right to have a representative

or attorney present at the meeting.

      110. Roe reviewed the draft report on March 30, 2018. She commented that

she recalled bits and pieces of the vaginal intercourse and peed afterward to avoid a

urinary tract infection. This comment, however, contradicts her initial statement that

she could not recall whether she went to the bathroom before, after, or during the

alleged assault.

      111. Plaintiff was not given the opportunity to respond to Roe’s statement;

he could only review it and comment on the accuracy of his own statement.

      112. Plaintiff was not given a live hearing.

      113. Plaintiff was not given an opportunity to question Roe, either himself

or via a representative or intermediary.

      114. Plaintiff was not given the opportunity to present witnesses.

      115. Defendant Beauchaine interviewed no witnesses other than Plaintiff

and Roe even though Roe named other individuals who saw her on October 30, 2016

and could have testified to Roe’s level of intoxication.

      116. On or about April 2, 2018, Defendant Beauchaine finalized her report.

      117. On or about April 6, 2018, Defendant Koski informed Plaintiff that the

Sexual Misconduct Review Board (“SMRB”) had met on April 5, 2018 to review

the final investigation report.


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      118. Based on a preponderance of the evidence standard, the SMRB

determined that there was insufficient evidence to indicate use of force related to

Roe performing oral sex on Plaintiff. The SMRB, however, found that Plaintiff had

affirmed the other two charges: undressing Roe without her consent and having

vaginal intercourse with Roe without her consent.

      119. Based on the findings, Defendants stated Plaintiff would be expelled

effective May 5, 2018.

      120. The SMRB provided no rationale for its findings or level of sanction.

The members of the SMRB were also not disclosed. On information and belief, the

SMRB was comprised of Defendant Beauchaine, Defendant Koski, and a

representative from the office of the Dean of Students.

      121. On or about April 27, 2018, Defendant Koski informed Plaintiff that

the SMRB reconvened to review the video of Roe performing oral sex on Plaintiff.

      122. Based on the video, the SMRB revised its findings to find Plaintiff not

responsible for the charge related to oral sex. Oddly, the SMRB reasoned that

Plaintiff had not forced Roe to perform oral sex on him, but still found that he should

have known that she could not consent due to being intoxicated.

      123. Nonetheless, the SMRB stated that it did not find any evidence,

including the video, to change Plaintiff’s affirmation to the other charges without

explaining its reasoning.


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        124. Without explanation, the SMRB also upheld the expulsion for May 5,

2018.

        125. In reality, the SMRB reached an erroneous conclusion based solely on

Plaintiff’s gender rather than the preponderance of evidence before the Board, in

direct violation of NMU’s policies and Title IX.

D.      Appeal

        126. Under NMU’s Sexual Misconduct Policy, the University only

considers appeals based on new information sufficient to alter a decision or other

relevant facts not brought up in the initial investigation because the individual

appealing did not know such information and/or facts at the time of the investigation.

        127. NMU does not consider information which was known to the individual

appealing but not stated during the initial investigation.

        128. On May 9, 2018, Plaintiff sent two appeal letters to Defendant Koski.

        129. In one letter, Plaintiff stated that the hearing procedures violated his due

process rights and Title IX, including the lack of legal representation, the length of

time that passed between the event and the investigation, and the inability to confront

his accuser. He also stated that the SMRB’s failure to include a rationale for the

result and sanctions violated the regulations to Title IX. He also raised his concern

that he presented evidence inconsistent with any affirmation of the allegations

against him, yet the SMRB did not weigh evidence and only accepted the recanted


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affirmations. Finally, he argued that the great weight of the evidence demonstrated

that Plaintiff did not sexually assault Roe.

      130. In the second letter, Plaintiff argued that the punishment imposed of

expulsion was too severe. He pointed out that he and Roe had an intimate

relationship before and after the incident and that a significant time had passed

between the alleged sexual assault and Roe’s report. He also again pointed out that

he disputed his guilt and that the University should not have such confidence in his

guilt, given the evidence, to warrant expulsion.

      131. Nonetheless, the appeals were denied.

E.    Inherent Bias

      132. In addition to the inherent biases in NMU’s processes and procedures,

see infra, the investigation into Plaintiff was inherently biased because of his gender.

      133. On information and belief, Defendant Beauchaine is inclined to believe

female accuses and disbelieve accused males.

      134. In the investigation report, Defendant Beauchaine characterized

Plaintiff’s actions as “assault” instead of “alleged assault.” Defendant Beauchaine

also characterized one of Plaintiff’s comments as “weird.” Moreover, she

mischaracterized the “weird” comment as occurring on October 30, 2016 when it

was said to comfort Roe when Roe first confronted Plaintiff about her allegation that

she could not recall what happened on October 30, 2016 months later.


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      135. When meeting with Plaintiff, Defendant Beauchaine was hostile

throughout the interview, used a very aggressive tone, and used language suggesting

that she presumed Plaintiff’s guilt.

      136. Defendant Beuchaine and the SMRB, including Defendant Koski,

ignored the female accuser’s (Roe’s) inconsistent statements.

      137. Defendant Beuchaine and the SMRB, including Defendant Koski,

ignored the accused male’s (Plaintiff’s) consistent story that Roe consented to

participating in all sexual acts and was not intoxicated to the point of incapacitation.

      138. Defendant Beuchaine and the SMRB, including Defendant Koski,

ignored the accused male’s (Plaintiff’s) complete and total revocation of his

affirmations that he undressed Roe without her consent or had vaginal intercourse

with Roe without her consent.

      139. Defendant Beuchaine and the SMRB, including Defendant Koski,

failed to apply NMU’s Sexual Misconduct Policy to the accused male (Plaintiff) by

claiming that Roe could not consent due to intoxication, even though the Policy

provides that consent cannot be obtained if the accuser is “incapacitated” not

“intoxicated.” The evidence does not demonstrate that Roe was “incapacitated” as

defined by the Policy, see supra.

      140. Defendants denied the accused male (Plaintiff) of procedural

safeguards in NMU’s policies, including but not limited to, advising Plaintiff of his


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right to have an advisor or attorney present at the meeting and offering Plaintiff

information about on and off-campus resources or an explanation of the procedural

options.

       141. Furthermore, NMU’s Sexual Misconduct Policy, on its face, is meant

to support accusers, rather than both the accuser and the accused.

       142. Accusers are provided both verbal information and a pamphlet

explaining the services, assistance and support that are available. The accused are

not.

       143. NMU makes efforts to protect the anonymity of accusers but not the

accused.

       144. After a report of sexual misconduct, NMU offers to help the accusers

with several options that may be helpful or even necessary to continue living and

feeling safe in a University residence or attending classes. These include options

such as moving the respondent to other housing, moving the complainant to other

housing, changing class sections or schedules, contacting teachers about missing a

class, and more. The same offer is not extended to the accused.

       145. In fact, NMU provides interim measures in which the accused could be

suspended or required to change residence halls, class schedule, or work schedule.

       146. NMU also considers the expressed preference for the accuser regarding

the manner of resolution, including level of sanction.


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      147. On information and belief, NMU knew, when it wrote the Policy, that

nearly all of the individuals who are accused of sexual misconduct are men, and

nearly all of their accusers are women. Thus, it understood that the Policy, as written,

is more protective of women than men.

      148. Furthermore, NMU was under societal pressure to punish male accused

and protect female accusers.

      149. On September 22, 2017, the Office of Civil Rights (“OCR”) of the U.S.

Department of Education (“DOE”) put in place an interim guidance while the current

administration reviews and revises its practices with regard to the adjudication of

complaints of sexual misconduct on college campuses receiving federal funding.

See, e.g., https://www.ed.gov/news/press-releases/department-education-issues-

new-interim-guidance-campus-sexual-misconduct.

      150. The interim guidance and review suggests that the practices in place at

all times relevant to this lawsuit were unfair and, ultimately, out of step with the goal

of gender equity in Title IX-related proceedings. See “Q&A on Campus Sexual

Misconduct,” available at https://www2.ed.gov/about/offices/list/ocr/docs/qa-title-

ix-201709.pdf.

      151. For example, the new OCR guidance, in a significant departure from

the 2011 Dear Colleague Letter, states: “The findings of fact and conclusions should

be reached by applying either a preponderance of the evidence standard or a clear


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and convincing evidence standard,” as long as the standard for evaluating claims of

sexual misconduct is the same as that applied in other student disciplinary

proceedings.

      152. Significantly, the new OCR guidance also requires that “Any rights or

opportunities that a school makes available to one party during the investigation

should be made available to the other party on equal terms.”

      153. It further states:

      [T]he decision-maker(s) must offer each party the same meaningful
      access to any information that will be used during informal and formal
      disciplinary meetings and hearings, including the Investigative Report.
      The parties should have the opportunity to respond to the report in
      writing in advance of the decision of responsibility and/or at a live
      hearing to decide responsibility.”

(Emphasis added).

      154. The Policy to which Plaintiff was subject, at least as to the process by

which the claims against him were adjudicated, sets forth the procedures by which

NMU students like Plaintiff, who have been accused of violating one or more of the

enumerated offenses, are investigated, heard and, possibly, disciplined.

      155. Although NMU promised Plaintiff certain above-described process

rights under the Policy, Defendants nevertheless treated him in a manner that clearly

violated his rights under the Policy, the Fourteenth Amendment, and Title IX, as set

forth more fully below.



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                                   COUNT I
                        PROCEDURAL DUE PROCESS
(Against Defendants Janet Koski and Donna Beauchaine in their individual and
 official capacities and Defendant Christine Greer in her official capacity only)

      156. Plaintiff incorporates all preceding paragraphs above as though fully

stated herein.

      157. At all times relevant hereto, as a student, Plaintiff had a clearly

established property right in his continued enrollment at NMU under the 14th

Amendment of the U.S. Constitution.

      158. Defendants Janet Koski and Donna Beauchaine, acting in their

individual and official capacities, and Defendant Christine Greer in her official

capacity only, at all relevant times herein, including but not limited to their words

and actions regarding the investigation, the pre-sanction communications, the

sanction, and the appeals determination deprived Plaintiff of his constitutional

clearly established property right to continued enrollment at NMU by permanently

expelling him, and otherwise as alleged above.

      159. Defendants deprived Plaintiff of his constitutional property right to

continued enrollment at NMU without due process of law, as Plaintiff did not have

a live hearing in front of the SMRB, the ability to cross-examine his accuser or other

witnesses, was denied legal representation, was judged on a preponderance of the

evidence standard despite NMU basing its sexual assault definition on the Michigan

penal code, was subjected to Defendant Beauchaine serving as investigator and
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judge, and was denied an explanation for the SMRB’s findings and level of sanction,

and as otherwise alleged above. See Doe v. Baum, 2018 U.S. App. LEXIS 25404

(6th Cir. Sept. 7, 2018); Doe v. Miami Univ., 882 F.3d 579 (6th Cir. 2018); Doe v.

Univ. of Cincinnati, 872 F.3d 393 (6th Cir. 2017).

       160. Plaintiff’s ability to adequately respond to the charges against him was

compromised.

       161. Defendants failed to state the specific evidence it relied on in the

investigation report to sanction Plaintiff before or after sanctioning him.

       162. Defendants failed to allow Plaintiff to cross-examine his accuser before

or after sanctioning him despite Plaintiff’s claims that his accuser’s allegations were

not credible.

       163. Defendants failed to follow their own procedures in sanctioning

Plaintiff.

       164. At all relevant times, Defendants were acting under color of state law.

       165. At all relevant times, Defendants Janet Koski and Donna Beauchaine,

acting in their individual and official capacities, and Defendant Christine Greer in

her official capacity only, were executing official NMU policy by making edicts or

acts depriving Plaintiff of his constitutional rights, by representing the official policy

of NMU, by accepting findings that were made in contravention of NMU policy

regarding such investigations, and by then moving and falsely finding Plaintiff had


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violated the Sexual Misconduct Policy, which caused Plaintiff to subsequently be

permanently expelled.

      166. Subsequently, Defendants Janet Koski and Donna Beauchaine, acting

in their individual and official capacities, and Defendant Christine Greer in her

official capacity only, executed official NMU policy by then moving and sanctioning

Plaintiff by permanently expelling him from NMU.

      167. Accordingly, Defendants are liable to Plaintiff pursuant to 42 USC §

1983 for their deprivation of Plaintiff’s constitutional rights, and damaging him as

alleged herein and below.

      168. This unlawful violation of Plaintiff’s due process rights proximately

caused Plaintiff to sustain substantial injury, damage, and loss, including, but not

limited to: mental anguish; severe emotional distress; injury to reputation; past and

future economic loss; deprivations of due process; loss of educational opportunities;

and loss of future employment prospects.

      169. As a result of the foregoing, Plaintiff is entitled to damages in an

amount to be determined at trial, plus prejudgment interest, attorneys’ fees,

expenses, costs, and disbursements.

                                  COUNT II
                         VIOLATION OF TITLE IX
               (Against Defendant Northern Michigan University)



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      170. Plaintiff incorporates all preceding paragraphs above as though fully

stated herein.

      171. Title IX of the Education Amendments of 1972 provides, in relevant

part, that: “No person in the United States shall, on the basis of sex, be excluded

from participation in, be denied the benefits of, or be subjected to discrimination

under any education program or activity receiving Federal financial assistance.”

      172. Title IX of the Education Amendments of 1972 applies to all public and

private educational institutions that receive federal funding, which includes

Defendant Northern Michigan University.

      173. Title IX may be violated by a school’s failure to prevent or remedy

sexual harassment or sexual assault or by the imposition of university discipline

where gender is a motivating factor in the decision to discipline.

      174. Title IX claims arising from collegiate disciplinary hearings are

generally analyzed under two categories: (1) “erroneous outcome” cases, in which

the claim is that plaintiff was innocent and wrongly found to have committed an

offense and gender bias was a motivating factor behind the erroneous findings; and

(2) “severity of penalty/selective initiation” cases, in which the claim asserts that,

regardless of the student’s guilt or innocence, the severity of the penalty and/or

decision to initiate the proceeding was affected by the student’s gender.




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      175. Both an “erroneous outcome” and an “unjustly severe penalty”

occurred in this case.

      176. Plaintiff was innocent and wrongly found to have committed a violation

of NMU’s Sexual Misconduct Policy, and gender bias was a motivating factor.

      177. NMU imposed an unwarranted and excessive sanction on Plaintiff as a

result of an erroneous outcome reached by a flawed disciplinary process, and gender

bias was a motivating factor.

      178. Both the Department of Education and the Department of Justice have

promulgated regulations under Title IX that require a school to “adopt and publish

grievance procedures providing for the prompt and equitable resolution of student

. . . complaints alleging any action which would be prohibited by” Title IX or

regulations thereunder. 34 C.F.R. § 106.8(b) (Dep’t of Education); 28 C.F.R. §

54.135(b) (Dep’t of Justice) (emphasis added). Such prohibited actions include all

forms of sexual harassment, including sexual intercourse, sexual assault, and rape.

      179. The “prompt and equitable” procedures that a school must implement

include, at a minimum:

          a. “Notice . . . of the procedure, including where complaints may be filed”;

          b. “Application of the procedure to complaints alleging [sexual]

             harassment . . .”;




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        c. “Adequate, reliable, and impartial investigation of complaints,

           including the opportunity to present witnesses and other evidence”;

        d. “Designated and reasonably prompt timeframes for the major stages of

           the complaint process”; and

        e. “Notice to the parties of the outcome of the complaint . . . .”

     180. Furthermore, under 20 U.S.C. § 1092(f)(8)(B)(iv):

     Procedures for institutional disciplinary action in cases of alleged
     domestic violence, dating violence, sexual assault, or stalking, which
     shall include a clear statement that—

     (I) such proceedings shall—

     (aa) provide a prompt, fair, and impartial investigation and resolution
     ....

     181. The regulations for Title IX further clarify:

     A prompt, fair, and impartial proceeding includes a proceeding that is–

     (A) Completed within reasonably prompt timeframes designated by an
     institution’s policy, including a process that allows for the extension of
     timeframes for good cause with written notice to the accuser and the
     accused of the delay and the reason for the delay;

     (B) Conducted in a manner that-

     (1) Is consistent with the institution’s policies and transparent to the
     accuser and accused;

     (2) Includes timely notice of meetings at which the accuser or accused,
     or both, may be present; and




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      (3) Provides timely and equal access to the accuser, the accused, and
      appropriate officials to any information that will be used during
      informal and formal disciplinary meetings and hearings; and

      (C) Conducted by officials who do not have a conflict of interest or bias
      for or against the accuser or the accused.

34 C.F.R. § 668.46(k)(3)(i).

      182. And “the result must also include the rationale for the result and the

sanctions.” 34 C.F.R. § 668.46(k)(3)(iv).

      183. Based on the foregoing, Defendants failed to conduct an adequate,

reliable, and impartial investigation of Roe’s complaint.

      184. NMU failed to provide any rationale for its decision. The SMRB simply

stated that Plaintiff was responsible under a “preponderance of the evidence”

standard.

      185. Additionally, the SMRB entirely failed to state what evidence they

relied on or what evidence they considered in reaching their conclusion.

      186. Particular circumstances suggest that gender bias was a motivating

factor behind the erroneous findings and the decision to impose an unjustly severe

penalty upon Plaintiff.

      187. As described above, these circumstances include, but are not limited to:

            a. From the outset, the investigation was slanted in favor of the female

               complainant;



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        b. The investigator, Beauchaine, conducted her investigation and used

           investigative techniques in a manner designed to attempt to credit the

           female complainant’s version of events and to discredit the male

           respondent’s version of events;

        c. Beauchaine characterized Plaintiff’s actions as “assault” instead of

           “alleged assault.” Defendant Beauchaine also characterized one of

           Plaintiff’s comments as “weird.” Moreover, she mischaracterized the

           “weird” comment as occurring on October 30, 2016 when it was said

           to comfort Roe when Roe first confronted Plaintiff about her allegation

           that she could not recall what happened on October 30, 2016 months

           later;

        d. When meeting with Plaintiff, Beauchaine was hostile throughout the

           interview, used a very aggressive tone, and used language suggesting

           that she presumed Plaintiff’s guilt;

        e. Beauchaine ignored the evidence that credited Plaintiff’s account of the

           events and only credited Roe’s accounts of the events;

        f. Beauchaine accepted the complainant’s statements at face value,

           despite the lack of corroboration for many of her assertions and the

           inconsistent statements she had made;




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          g. Beauchaine and the SMRB ignored Plaintiff’s complete and total

             revocation of his affirmations that he undressed Roe without her

             consent or had vaginal intercourse with Roe without her consent; and

          h. Defendants reached a final decision that was directly at odds with the

             reliable and credible evidence they had, and at odds with NMU’s

             policies concerning consent and incapacitation. The explanation for

             their determination is bias against Plaintiff, a male student.

      188. Further, the SMRB essentially adopted Beauchaine’s gender-biased

treatment of the case and did so with procedures in which there is: no live hearing;

no cross-examination; no sworn testimony; no provision for the respondent to have

the opportunity to confront and question his accusers or witnesses against him—in

fact, there is no opportunity to present questions to accusers in any manner at all; no

provision for the respondent to have the opportunity to call witnesses in support of

his defense before a fair and impartial decision-maker; and no presumption of

innocence but rather a presumption that the female’s accusations are true and no

reasoned consideration of evidence as required by a burden of proof.

      189. Further, NMU has created an environment where an accused male

student is denied basic fairness and due process on the basis of sex.




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      190. NMU’s Sexual Assault Policy demonstrates its gender-biased practices

with respect to respondents, who are almost invariably male students, accused of

sexual misconduct.

      191. Specifically, without limitation, the Sexual Assault Policy:

          a. Was promulgated to provide recourse for complainants, the vast

             majority of whom are female, rather than to protect both parties

             throughout the process from unfair and inequitable treatment;

          b. Contains support resources and accommodations designed specifically

             for complainants, the vast majority of whom are female, but contains

             no comparable support resources and accommodations for respondents,

             the vast majority of whom are male; and

          c. Allows complainants, the vast majority of whom are female, to dictate

             sanctions, including interim sanctions, against respondents, the vast

             majority of whom are male.

      192. Based on the foregoing, the NMU Sexual Misconduct Policy is

inherently discriminatory against male students accused of misconduct. The Policy

fails to ensure a fair and impartial investigation and hearing process.

      193. Moreover, Defendants applied these policies and procedures and

gender-biased practices in a manner that discriminated against Plaintiff on the basis

of his sex and led to an erroneous and adverse outcome.


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      194. Defendants also imposed an unjustly severe penalty on Plaintiff, and

they did so on the basis of his gender.

      195. Defendants imposed a sanction of expulsion despite the fact that

NMU’s policies explicitly state that there are other disciplinary options for students

found responsible for a non-consensual sexual act.

      196. On information and belief, Defendants imposed this unjustified

sanction in an effort to appease campus victims’ rights advocates.

      197. Based on the foregoing, Plaintiff was subjected to a biased, prejudiced

and unfair process in violation of Title IX designed to find him (the male)

responsible for sexual assault and be punished severely for it.

      198. This unlawful discrimination in violation of Title IX proximately

caused Plaintiff to sustain substantial injury, damage, and loss, including, but not

limited to: mental anguish; severe emotional distress; injury to reputation; past and

future economic loss; deprivations of due process; loss of educational opportunities;

and loss of future employment prospects.

      199. As a result of the foregoing, Plaintiff is entitled to damages in an

amount to be determined at trial, plus prejudgment interest, attorneys’ fees,

expenses, costs, and disbursements.

                                COUNT III
                           BREACH OF CONTRACT
              (Against Defendant Northern Michigan University)


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      200. Plaintiff incorporates all preceding paragraphs above as though fully

stated herein.

      201. Plaintiff applied to and enrolled in the College and paid associated fees

and expenses, including tuition.

      202. Plaintiff did so in reliance on the understanding and with the reasonable

expectation that the University would implement and enforce the provisions and

policies set forth in its official publications, including the Sexual Misconduct Policy.

      203. An express contract or, alternatively, a contract implied in law or in fact

was formed between Plaintiff and the University.

      204. The contract contained an implied covenant of good faith and fair

dealing. It implicitly guaranteed that any proceedings would be conducted with basic

fairness.

      205. Based on the aforementioned facts and circumstances, Defendants

breached express and/or implied agreement(s) with Plaintiff, and the covenant of

good faith and fair dealing contained therein.

      206. Defendants committed several breaches of their agreements with

Plaintiff during and after the investigation process, falling outside the range of

reasonable expectations of one reading NMU’s policies. See Faparusi v. Case W.

Reserve Univ., 2017 U.S. App. LEXIS 19593, at *17-19 (6th Cir. Oct. 4, 2017);

Finch v. Xavier Univ., 689 F. Supp. 2d 955, 968-69 (S.D. Ohio 2010).


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      207. For example, NMU breached its agreement with Plaintiff when it failed

to utilize the preponderance of the evidence standard in reaching its decision per

NMU’s policy.

      208. Had Defendants done so, they would have reached the opposite

conclusion; namely, that Plaintiff was not responsible for the misconduct alleged.

      209. Based on the above, a fair reading of the evidence reveals that Roe’s

account of the events lacked any corroboration or reliability. Yet Plaintiff was

inexplicably deemed less credible.

      210. Based on the above, a fair reading of the evidence reveals that Roe was

not incapacitated by alcohol as defined by NMU’s Policy and did not lack the ability

to consent.

      211. Defendants thus breached their contract with Plaintiff, and the covenant

of good faith and fair dealing contained therein, when they failed to utilize and apply

the requisite preponderance of the evidence standard.

      212. Defendants failed to provide a supportable rationale for their decision.

      213. In contravention of NMU’s policy, Plaintiff was denied legal

representation, which led to him erroneously affirming allegations against him.

      214. Accordingly, NMU breached its contract with Plaintiff, and the

covenant of good faith and fair dealing contained therein, when it relied on Plaintiff’s




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affirmations to reach its decision despite Plaintiff’s complete and total revocation of

the affirmations based on his statement to Beauchaine.

      215. As a direct and foreseeable consequence of the foregoing breaches,

Plaintiff sustained damages, including, without limitation, loss of educational and

career opportunities, economic injuries, and other direct and consequential damages.

      216. Plaintiff is entitled to recover damages for Defendant’s breaches of the

express and/or implied contractual obligations described above in an amount to be

determined at trial, plus prejudgment interest, attorneys’ fees, expenses, costs and

disbursements.

                               COUNT IV
        BREACH OF CONTRACT: DENIAL OF BASIC FAIRNESS/
          ARBITRARY AND CAPRICIOUS DECISION MAKING
            (Against Defendant Northern Michigan University)

      217. Plaintiff incorporates all preceding paragraphs above as though fully

stated herein.

      218. Defendants had a duty, either under an express or implied contract or

as a matter of common law, to ensure that the proceedings against Plaintiff were

conducted with basic fairness.

      219. Defendants breached this duty of basic fairness by, without limitation:

          a. Failing to provide Plaintiff with the same protections explicitly

             afforded the complainant under NMU’s Sexual Assault Policy,

             including, without limitation, the right to policies and procedures
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             designed to protect the rights of both complainants and respondents;

             and the right to a presumption of innocence unless and until the

             preponderance of evidence warrants a finding of responsibility;

         b. Failing to provide Plaintiff the opportunity to have legal representation;

         c. Failing to provide Plaintiff the opportunity to confront and question

             witnesses at a fair hearing;

         d. Arbitrarily and capriciously finding that the complainant was

             incapacitated and unable to consent when the preponderance of

             evidence unquestionably showed that the complainant was neither

             incapacitated nor unable to consent; and

         e. Arbitrarily and capriciously expelling Plaintiff when NMU’s Policy

             explicitly provides for alternate discipline after a finding of a non-

             consensual sexual act.

      220. Defendant’s breach of the duty to ensure basic fairness proximately

caused Plaintiff to sustain substantial injury, damage, and loss, including, but not

limited to: injury to reputation; past and future economic loss; deprivations of due

process; loss of educational opportunities; and loss of future career prospects.

      221. As a result of the foregoing, Plaintiff is entitled to damages in an

amount to be determined at trial, plus prejudgment interest, attorneys’ fees,

expenses, costs and disbursements.


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                                   COUNT V
                              PROMISORY ESTOPPEL
                   (Against Defendant Northern Michigan University)

      222. Plaintiff incorporates all preceding paragraphs above as though fully

stated herein.

      223. As described above, NMU’s policies constitute a promise that the

University and its agents will act in a manner described within them. NMU should

have expected Plaintiff to rely on the policies stated in the policies when he enrolled

in NMU and paid tuition, room, and board. Plaintiff reasonably expected NMU

would honor its express and implied promises, including that of fundamental fairness

and the implied covenant of good faith and fair dealing.

      224. Plaintiff relied to his detriment on these express and implied promises

and representation made by Defendant.

      225. Injustice can only be avoided by enforcement of Defendant’s

representations.

      226. As a direct and foreseeable result of Defendant’s failure to honor its

promises, Plaintiff has suffered injury to reputation, past and future economic loss,

deprivation of due process, and loss of career prospects.

      227. As a result of the foregoing, Plaintiff is entitled to damages in an

amount to be determined at trial, plus prejudgment interest, attorneys’ fees,

expenses, costs and disbursements.


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                             COUNT VI
                 NEGLIGENCE AND NEGLIGENCE PER SE
           (Against Defendants Janet Koski and Donna Beauchaine)

      228. Plaintiff incorporates all preceding paragraphs above as though fully

stated herein.

      229. When Defendants, as agents of NMU, accepted Plaintiff’s enrollment

as a student, they entered into a duty of care towards Plaintiff to conduct themselves

in a manner consistent with NMU’s policies and in a non-negligent manner.

      230. Defendants breached their duty of care towards Plaintiff when they

conducted the investigation, hearing, and appeal processes in a way that was

indifferent to the truth of the allegations made against Plaintiff as described above.

      231. Because of Defendants’ negligent conduct, Plaintiff has suffered severe

emotional distress, injury to reputation, past and future economic loss, deprivation

of due process, and loss of career prospects.

      232. As a result of the foregoing, Plaintiff is entitled to damages in an

amount to be determined at trial, plus prejudgment interest, attorneys’ fees,

expenses, costs and disbursements.

                                 COUNT VI
                             GROSS NEGLIGENCE
(Against Defendants Northern Michigan University, Janet Koski, and Donna
                              Beauchaine)

      233. Plaintiff incorporates all preceding paragraphs above as though fully

stated herein.
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      234. Defendants were negligent and negligent per se in their investigation,

hearing, and appeal processes regarding Plaintiff as described above.

      235. Defendants recklessly disregarded the rights of Plaintiff and were

callously indifferent to the effects their conduct would have on Plaintiff’s reputation,

mental health, and future.

      236. Defendants’ biases against Plaintiff amount to grossly negligent

conduct and deviation from the standard of care.

      237. Defendants’ grossly negligent conduct has caused Plaintiff severe

emotional distress, injury to reputation, past and future economic loss, deprivation

of due process, and loss of career prospects.

      238. As a result of the foregoing, Plaintiff is entitled to damages in an

amount to be determined at trial, plus prejudgment interest, attorneys’ fees,

expenses, costs and disbursements.

                              RELIEF REQUESTED

      For all of the foregoing reasons, Plaintiff John Doe demands judgment against

Defendants as follows:

        a.   Declare the practices and actions of Defendants in violation of Title IX
             and the common law;

        b.   Compensatory damages for monetary and non-monetary loss in
             whatever amount he is found to be entitled;

        d.   Exemplary damages in whatever amount he is found to be entitled;


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      e.   Punitive damages in whatever amount he is found to be entitled;

      f.   A judgment for past and future economic loss; deprivations of due
           process; loss of educational opportunities; and loss of future career
           prospects, in whatever amount he is found to be entitled;

      g.   An order of this Court reversing the sanctions imposed against Plaintiff
           by Defendants;

      h.   An order of this Court awarding reinstatement of Plaintiff as a student
           of Northern Michigan University, if he so desires;

      i.   An order of this Court removing the Complaint, Investigative Report
           and sanctions from Plaintiff’s file;

      j.   An injunction of this Court prohibiting any further acts by Defendants
           violating Plaintiff’s rights;

      k.   An award of interest, costs and reasonable attorney fees; and

      l.   Whatever other relief this Court finds appropriate.


                                            Respectfully Submitted,
                                            NACHTLAW, P.C.

                                            /s/ David A. Nacht
                                            David A. Nacht (P47034)
                                            Adam M. Taub (P78334)
                                            Attorneys for Plaintiff
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  Dated: October 31, 2018




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                     UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF MICHIGAN
                          NORTHERN DIVISION


JOHN DOE,
       Plaintiff,                                   Case No.
                                                    Hon.
v.
NORTHERN MICHIGAN UNIVERSITY,
JANET KOSKI, DONNA BEAUCHAINE,
in their individual and official capacities,
and CHRISTINE GREER,
in her official capacity only,
jointly and severally,

       Defendants.
__________________________________________________________________
David A. Nacht (P47034)
Adam M. Taub (P78334)
NACHTLAW, P.C.
Attorneys for Plaintiff
101 N. Main Street, Ste. 555
Ann Arbor, MI 48104
(734) 663-7550
dnacht@nachtlaw.com
ataub@nachtlaw.com
__________________________________________________________________
                       DEMAND FOR TRIAL BY JURY

       NOW COMES Plaintiff, John Doe, by and through his attorneys, NachtLaw,

P.C., and hereby demands for a jury trial in the above-captioned matter for all issues

so triable.

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                                         Respectfully Submitted,
                                         NACHTLAW, P.C.

                                         /s/ David A. Nacht
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                                         Adam M. Taub (P78334)
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                                         Ann Arbor, MI 48104
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  Dated: October 31, 2018




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